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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                          )
In re                                                     )      Chapter 11
                                                          )
TOUGH MUDDER INCORPORATED,                                )      Case No. 20-10036 (CSS)
                                                          )
                      Debtor.                             )      RE: D.I. 37
                                                          )
                                                          )
Tax I.D. No. XX-XXXXXXX                                   )

                                                          )
In re                                                     )      Chapter 11
                                                          )
TOUGH MUDDER EVENT PRODUCTION                             )      Case No. 20-10037 (CSS)
INCORPORATED,                                             )
                                                          )      RE: D.I. 31
                       Debtor.                            )
                                                          )
Tax I.D. No. XX-XXXXXXX                                   )

                         ORDER DIRECTING THE JOINT
               ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                Upon the motion (the “Motion”) 1 of Derek C. Abbott, Esq., the chapter 11 Trustee

(the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder Event Production

Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), for entry of this order

(“Order”) pursuant to Bankruptcy Code section 105(a), Bankruptcy Rule 1015(b), and Local

Rule 1015-1, authorizing the joint administration of these Chapter 11 Cases for procedural

purposes only as further described in the Motion; and this Court having jurisdiction to consider

the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated as of February 29, 2012; and consideration of the Motion and the relief


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        Capitalized terms not otherwise defined herein are used as in the Motion.
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requested therein being a core proceeding in accordance with 28 U.S.C. § 157(b)(2); and venue

being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice

of the Motion being adequate and appropriate under the circumstances; and no notice of the

Motion being required under the circumstances pursuant to Local Rule 1015-1; and this Court

having found and determined that the relief sought in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest and that the legal and factual bases

set forth in the Motion establish just cause for the relief granted herein; and any objections to the

requested relief having been withdrawn or overruled on the merits; and after due deliberation and

sufficient cause appearing therefor, it is hereby ORDERED:

                 1.       The Motion is granted to the extent provided herein.

                 2.       The above-captioned cases are consolidated for procedural purposes only

and shall be administered jointly under the case of Tough Mudder Inc., Case No. 20-10036

(CSS) in accordance with the provisions of Bankruptcy Rule 1015 and Local Rule 1015-1.

                 3.       All pleadings filed in the Debtors’ chapter 11 cases shall bear a

consolidated caption in the following form:

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
                                                            )
    In re                                                   )      Chapter 11
                                                            )
    TOUGH MUDDER INC., et al.,1                             )      Case No. 20-10036 (CSS)
                                                            )
                           Debtors.                         )      Jointly Administered
                                                            )
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’ address is
15 MetroTech Center, Brooklyn, NY 12201.

                 4.       The caption set forth above shall be deemed to satisfy any applicable

requirements of Bankruptcy Code section 342(c)(1) and Bankruptcy Rule 1005.

                                                        2
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               5.      The Clerk of this Court shall make a docket entry in the chapter 11 case of

TM Events, Case No. 20-10037 (CSS) substantially as follows:

               An order has been entered in this case consolidating this case with
               the case of Tough Mudder Inc., Case No. 20-10036 (CSS) for
               procedural purposes only and providing for its joint administration
               in accordance with the terms thereof. The docket in the chapter
               11 case of Tough Mudder Inc., Case No. 20-10036 (CSS),
               should be consulted for all matters concerning this case.

               6.      The Trustee shall maintain, and the Clerk shall keep, one consolidated

docket, one file, and one consolidated service list for these Chapter 11 Cases.

               7.      Nothing contained in the Motion or this Order shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases

and this Order shall be without prejudice to the rights of the Trustee to seek entry of an order

substantively consolidating their respective cases.

               8.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h),

7062, 9014, or otherwise, this Order shall be immediately effective and enforceable upon its

entry.

               9.      The Trustee is authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order.

               10.     The Court retains jurisdiction with respect to all matters arising from or

related to the interpretation or implementation of this Order.




         Dated: February 21st, 2020
                                                 3
                                                  CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                     UNITED STATES BANKRUPTCY JUDGE
